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            ORAL ARGUMENT NOT YET SCHEDULED
                       No. 22-7146


            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


        PETER A. CHIEJINA and PICCOL NIGERIA, LTD.,
                     Petitioners-Appellees,

                                    vs.

                FEDERAL REPUBLIC OF NIGERIA,
                      Respondent-Appellant

                     On Appeal from an Order of the
         United States District Court for the District of Columbia
                      Denying a Motion to Dismiss

                 BRIEF OF THE APPELLEES,
       PETER A. CHIEJINA AND PICCOL NIGERIA, LTD.




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         CERTIFICATE AS TO PARTIES, RULINGS, AND
                     RELATED CASES

          A. All parties, intervenors, and amici appearing before the

             district court and in this court are listed in the Brief for
             the Appellant. PICCOL Nigeria, Ltd. states that it has no
             parent company and that no publicly held corporation

             owns 10% or more of its stock.
          B. References to the ruling at issue appear in the Brief for the
             Appellant.

          C. There are no related cases.




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                              GLOSSARY


       ADR                          alternative dispute resolution

       FCIArb                       Fellow of the Chartered Insti-
                                    tute of Arbitrators

       FSIA                         Foreign Sovereign Immunities
                                    Act

       New York Convention          United Nations Convention on
                                    the Recognition and Enforce-
                                    ment of Foreign Arbitral
                                    Awards

       Nigeria                      The Federal Republic of Nige-
                                    ria

       PICCOL                       PICCOL Nigeria, Ltd.

       RCICAL                       Regional Centre for Interna-
                                    tional Commercial Arbitration,
                                    Lagos

       SAN                          Senior Advocate of Nigeria




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                     JURISDICTIONAL STATEMENT

           This is a petition to conﬁrm an arbitral award made under an
      agreement to arbitrate between Nigeria, a foreign state, and a pri-
      vate party, PICCOL Nigeria, Ltd. The award falls under the United
      Nations Convention on the Recognition and Enforcement of For-
      eign Arbitral Awards, Jun. 10, 1958, 21 U.S.T. 2517, 330 U.N.T.S.
      38. Nigeria is a party to the Convention, and therefore Nigeria has
      implicitly waived its immunity from suit. The waiver and arbitra-
      tion exceptions to foreign sovereign immunity, 28 U.S.C.
      §§ 1605(a)(1) and (6), apply. The district court had jurisdiction

      under 28 U.S.C. § 1330(a).
           The appellees agree with the appellant’s statement on appel-
      late jurisdiction.

       STATEMENT OF ISSUES PRESENTED FOR REVIEW

            1.    Is Mr. Chiejina’s claim within the arbitration excep-
      tion to foreign sovereign immunity, 28 U.S.C. § 1605(a)(6)?
            2.    In the alternative, is Mr. Chiejina’s claim within the
      waiver exception to foreign sovereign immunity, 28 U.S.C.
      § 1605(a)(1)?
            3.    Was service of process improper because the notice

      provision in the parties’ contract is a “special arrangement for ser-
      vice” under 28 U.S.C. § 1608(a)(1)?


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                     STATUTES AND REGULATIONS

           Except for the materials contained in the addendum to this
      brief, all applicable statutes, etc. are contained in the Brief for the
      Appellant.

                       STATEMENT OF THE CASE

           Gully erosion is a longstanding problem in southern Nigeria.
      It has a

           devastating eﬀect on many peoples’ lives and destroys essen-
           tial infrastructure for economic development and poverty al-
           leviation. Gully erosion contributes to environmental prob-
           lems and damage estimated at over $100 million annually.

      Nigeria Erosion and Watershed Management Project, Environ-
      mental and Social Management Framework (ESMF) Executive
      Summary, https://perma.cc/Z6E3-R2V3.
           In 2006, Nigeria contracted with a small engineering ﬁrm,
      PICCOL Nigeria, Ltd., to construct gully erosion control struc-
      tures in southern Nigeria. Col. Musa Mohammed, the Minister of
      Inter-Government Aﬀairs, signed the contract for Nigeria.

      PICCOL’s sole owner and managing director, Peter A. Chiejina,
      signed for the company. (A. 30-31). Mr. Chiejina is a Nigerian who
      has been a lawful permanent resident of the United States and

      lived in South Carolina since 2016.
           The parties agreed to arbitrate disputes:


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           Any dispute, controversy or claim arising out of or relating to
           this contract or the breach, termination or invalidity thereof,
           shall be settled by arbitration at the Regional Centre for In-
           ternational Commercial Arbitration, Lagos, under the appli-
           cable Arbitration Rules in the schedule to the Arbitration and
           Conciliation Act, Cap. 19 Law of the Federation of Nigeria,
           1990.

      (A. 25-26). They also agreed on a method to send each other no-

      tices under the contract:

           Any notice, authorisation, information, instruction and cor-
           respondence required or authorised by this Agreement to be
           given by either party to the other shall be sent by registered
           post to the other party at the address set forth below or to
           such other address as either party shall notify the other in
           writing …

      (A. 29).

           Work on the one-year contract began in 2006. PICCOL and
      Mr. Chiejina asserted that after a new president was elected in
      2007, the government stopped paying contractors on federal pro-
      jects (A. 41). They claimed the resulting delays in payment injured
      them. Mr. Chiejina claimed that he had mortgaged his home to se-
      cure a loan so PICCOL could aﬀord to perform under the contract,

      and that the delayed payments had left him unable to repay the
      mortgage loan (A. 42).
           PICCOL and Mr. Chiejina demanded arbitration in March

      2014. They ﬁrst brought their claim at the Abuja Multi Door Court


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      House, a Nigerian ADR provider. But the agreement to arbitrate
      speciﬁed RCICAL as the arbitral body. So in August 2016,

      PICCOL and Mr. Chiejina began again at RCICAL. (A. 47).
      RCICAL’s director appointed the arbitrator, Dorothy Ufot, SAN,
      FCIArb, in October 2016. (A. 48).
           Nigeria participated in the arbitration from start to ﬁnish. Af-
      ter ﬁling its statement of defense, Nigeria sought to dismiss the
      claim for lack of jurisdiction and on the ground that it was time-
      barred: Nigeria argued that PICCOL and Mr. Chiejina’s notice of
      arbitration had not been properly served and did not satisfy the ar-
      bitral rules. The arbitrator rejected these arguments, ﬁnding that

      the notice of arbitration was valid. (A. 54). In any event, she
      found, Nigeria did not object to the arbitrator’s jurisdiction until
      too late: Article 24.4 of the arbitral rules required Nigeria to object

      no later than the date of its statement of defense, but Nigeria ob-
      jected only fourteen days later. (A. 55). The arbitrator also re-
      jected Nigeria’s timeliness argument on the merits. (A. 54-55). Ni-
      geria did not raise Mr. Chiejina’s presence in the case as an issue
      at any time during the arbitration.
           Following an evidentiary hearing (A. 57), the arbitrator is-

      sued her award in June 2019. She awarded damages after ﬁnding
      that Nigeria had failed to pay an interim payment certiﬁcate in full.



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      She awarded additional damages because Nigeria had delayed pay-
      ments on other interim payment certiﬁcates. She also awarded

      damages for the cost of equipment idle time and for lost proﬁts.
      Finally, she awarded costs of the arbitration and interest. (A. 79-
      81). The award required Nigeria to pay the damages to “the Claim-
      ants” (plural in original), that is, to PICCOL and Mr. Chiejina,
      within twenty-one days. (Id.). But although the award is ﬁnal, alt-
      hough Nigeria never asked a Nigerian court to set it aside, and alt-
      hough almost four years have passed, Nigeria has paid nothing. (A.
      9).
            PICCOL and Mr. Chiejina petitioned to conﬁrm the award on

      August 24, 2021. They invoked the FSIA’s waiver and arbitration
      exceptions, 28 U.S.C. §§ 1605(a)(1) and (6). (A. 6). The clerk dis-
      patched the summons, petition, and notice of suit to the Nigerian

      Minister of Foreign Aﬀairs, as provided in 28 U.S.C. § 1608(a)(3).
      (A. 82). The Minister received the papers on September 28, 2021.
      (A. 84).
            Nigeria moved to dismiss. (A. 89). It argued that the court
      lacked subject-matter jurisdiction because no exception to its for-
      eign sovereign immunity applied, and that the court lacked per-

      sonal jurisdiction because the parties had a special arrangement
      for service that Mr. Chiejina and PICCOL ignored.



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           The district court easily rejected Nigeria’s service argument,
      ﬁnding no support for Nigeria’s claim that an agreement governing

      only notices under the contract also governs service of process in
      an action to conﬁrm an award in a foreign court.
           On immunity, the district court recognized that Nigeria was
      dressing up a merits argument—the award should not be recog-
      nized because it exceeds the scope of the submission to arbitra-
      tion—as a jurisdictional argument. It held that the arbitration ex-
      ception applied. It did not reach the waiver exception, though the
      parties had briefed it.

                     SUMMARY OF THE ARGUMENT
           A. The Court Had Subject-Matter Jurisdiction.
           Two exceptions to the FSIA’s general rule of foreign sover-
      eign immunity from suit apply to PICCOL and Mr. Chiejina’s
      claim: the arbitration exception, 28 U.S.C. § 1605(a)(6), and the
      waiver exception, 28 U.S.C. § 1605(a)(1).
           To show that the arbitration exception applies, PICCOL and
      Mr. Chiejina must produce the agreement between Nigeria and a
      private party to arbitrate; the award an arbitrator issued under that

      agreement; and the treaty governing the award. They have met
      their burden. First, they produced the agreement to arbitrate be-
      tween Nigeria and PICCOL. Second, they produced the award,

      which no one doubts was made under the agreement to arbitrate.

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      Third, they produced the New York Convention, which no one
      doubts governs the award.

           Nigeria concedes that the district court had jurisdiction of
      PICCOL’s claim, but it asserts that the court did not have jurisdic-
      tion over Mr. Chiejina’s claim. Its argument fails for three reasons.
           First, questions of arbitrability are merits questions, not ju-
      risdictional questions. When a petitioner produces an agreement
      to arbitrate between the foreign state and a private party, an award
      made under that agreement, and a treaty governing the award,
      questions about whether the arbitrator exceeded her powers or
      whether the foreign state had agreed to arbitrate disputes with a

      particular claimant are merits questions to be decided under Arti-
      cle V of the New York Convention.
           Second, the plain text of § 1605(a)(6) requires an agreement

      to arbitrate between the foreign state and a private party—not be-
      tween the foreign state and the award creditor, or the foreign state
      and the petitioner seeking conﬁrmation. The statute therefore
      leaves questions about the rights of private party non-signatories
      under an agreement to arbitrate to the merits stage.
           Third, the case is unlike Simon v. Republic of Hungary, 812

      F.3d 127 (D.C. Cir. 2016), in which the claimants asserted several
      independent claims. Here there is one claim—a claim for breach of
      contract—and the arbitrator decided that both PICCOL and Mr.

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      Chiejina were entitled to damages on account of the breach. Thus
      the rule that motions to dismiss on FSIA immunity grounds should

      be decided claim-by-claim does not apply here.
           Although the district court did not decide whether the waiver
      exception to FSIA immunity applies, the parties briefed the issue,
      and the Court can aﬃrm on any ground that appears in the record.
      If the Court reaches waiver, it should adopt the Second Circuit’s
      Seetransport rule and hold that Nigeria, by agreeing to the New
      York Convention, implicitly waived its foreign sovereign immun-
      ity in award enforcement cases brought in other Convention
      states. Because the Convention expressly contemplates proceed-

      ings to conﬁrm awards in foreign courts, any state in Nigeria’s po-
      sition must have understood when it agreed to the Convention that
      it could face such proceedings. The Court has already approved

      this reasoning twice, though only in an unpublished decision and
      in dicta, and if it reaches waiver, the Court should approve the rule
      of Seetransport again now.

           B. Service of Process was Proper.
           The FSIA prescribes four methods for service, and the plain-
      tiﬀ must attempt each available method in the order the statute

      prescribes. Neither the plaintiﬀ’s preference for one method over
      another nor the foreign state’s preference matters. The statute is



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      designed to make sure that the summons and complaint reach the
      foreign oﬃcial most likely to understand American procedure—

      the foreign minister—when no treaty governing service applies
      and when the parties have not agreed on a special arrangement for
      service.

           In almost every § 1608(a)(1) case, the plaintiﬀ, not the for-
      eign state, argues that there is a special arrangement for service,
      to avoid having to serve process using the more formal and oner-
      ous methods set out later in Section 1608(a). The foreign state,
      not the plaintiﬀ, argues that it must be served under the more for-
      mal methods the FSIA prescribes. So the courts, to protect the in-

      terest of foreign states in avoiding the burdens of litigation, con-
      strue § 1608(a)(1) narrowly. Nigeria itself argued for a narrow
      construction in a prior case. The Court should adopt a narrow con-

      struction, which serves the interests of the foreign state in almost
      every FSIA case, rather than the broad construction that Nigeria
      has opposed before but presses here.
           All the cases but one distinguish between all-encompassing
      notice provisions in contracts, which govern all notices between
      the parties, and notice provisions that are limited to notices under
      the contract. Only all-encompassing notice provisions qualify as
      special arrangements for service. The notice provision in this case
      has only limited scope. Therefore, it is not a special arrangement

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      for service. The only contrary case has been rejected by three dis-
      trict court judges, including the judge in this case, as an obvious

      error.
           If the Court ﬁnds that service was improper, it should not dis-
      miss the case but should instead remand with instructions to allow
      PICCOL and Mr. Chiejina to serve process again, because there is
      a reasonable prospect that they could serve process by the method
      Nigeria asserts they should have used.

                                ARGUMENT
           A. The District Court Had Subject-Matter Jurisdiction
              Because the Arbitration and Waiver Exceptions to FSIA
              Immunity Applies.

               1. The Arbitration Exception Applies.
           Under the arbitration exception, a court has subject-matter
      jurisdiction in an action against a foreign state that is brought:

           either to enforce an agreement made by the foreign state with
           or for the beneﬁt of a private party to submit [an arbitrable
           claim] to arbitration … or to conﬁrm an award made pursuant
           to such an agreement to arbitrate, if … the agreement or
           award is or may be governed by a treaty or other international
           agreement in force for the United States calling for the recog-
           nition and enforcement of arbitral awards….

      28 U.S.C. § 1605(a)(6). To show that the exception applies, Mr.
      Chiejina and PICCOL must produce the agreement to arbitrate be-
      tween the foreign state and a private party, the award based on that

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      agreement, and the treaty that governs the award. See Chevron
      Corp. v. Republic of Ecuador, 795 F.3d 200, 204–05 (D.C. Cir.

      2015). Nigeria, though, has the burden of persuasion once
      PICCOL and Mr. Chiejina meet their burden. Id.
           Mr. Chiejina and PICCOL produced the arbitration agree-
      ment, which is (1) “an agreement made by the foreign state,” Ni-
      geria, (2) “with … a private party,” PICCOL, (3) “to submit” an
      arbitrable claim to “arbitration.” See 28 U.S.C. § 1605(a)(6). They
      also produced the award, which was made under the agreement to
      arbitrate. And the award is governed by “a treaty or other interna-
      tional agreement in force for the United States calling for the

      recognition and enforcement of arbitral awards,” the New York
      Convention. That is enough to show that the arbitration exception
      applies. But Nigeria claims that the private party who seeks to con-

      ﬁrm the award must be a party to the agreement to arbitrate.
           Nigeria is wrong. The district court had jurisdiction to con-
      sider PICCOL and Mr. Chiejina’s petition for three reasons. First,
      because Nigeria was a party to the agreement to arbitrate, its chal-
      lenge to arbitrability is a merits challenge, not a jurisdictional
      challenge. Second, the text of the statute shows that all that is re-

      quired for jurisdiction is an agreement to arbitrate between Nige-
      ria and a private party, not an agreement between Nigeria and the



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      award creditor. Third, there is only a single claim in this case—a
      single wrong that injured both PICCOL and Mr. Chiejina.

                     a. The Arbitration Exception Applies Even When
                        the Foreign State May Have a Merits Defense
                        That the State Had Not Agreed to Arbitrate
                        Disputes with A Particular Award Creditor.
           Because the United States is a party to the New York Conven-
      tion, American courts generally must conﬁrm arbitral awards that

      fall under the Convention. See New York Convention art. III; 9
      U.S.C. § 207. The Convention does, however, have a short list of
      grounds on which a court can refuse conﬁrmation. See New York

      Convention art. V. One ground for refusing conﬁrmation is that
      “[t]he award deals with a diﬀerence not contemplated by or not
      falling within the terms of the submission to arbitration, or it con-

      tains decisions on matters beyond the scope of the submission to
      arbitration.” New York Convention art. V(1)(c). Nigeria’s argu-
      ment implies that it thinks it has a defense to conﬁrmation under

      Article V(1)(c).1 But a court does not lack jurisdiction to hear a



      1
        Nigeria’s defense will fail. The parties arbitrated under the arbi-
      tral rules appended to the Nigerian Arbitration and Conciliation
      Act. Article 21(1) of those rules is identical to Article 21(1) of the
      UNCITRAL Arbitration Rules, G.A. Res. 31/98, art. 21(1) (Dec.
      15, 1976). The rule provides: “The arbitral tribunal shall have the
      power to rule on objections that it has no jurisdiction, including


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      case that otherwise falls under the FSIA’s arbitration exception
      just because there are grounds under the Convention to refuse to

      conﬁrm the award, and more speciﬁcally, just because a foreign
      state that lost an arbitration claims that it had not agreed to arbi-
      trate the claim it lost.
           The cases in which foreign states argue that arbitrators is-
      sued awards in disputes that the states had not agreed to arbitrate
      fall into two categories. In the ﬁrst, the foreign state has entered
      into an arbitration agreement and the arbitrator, rightly or
      wrongly, has issued an award under that agreement. But the for-
      eign state denies that the dispute with the claimant was arbitrable.

      Cases in this category hold that arbitrability is a merits question.
      LLC SPC Stileks v. Republic of Moldova, 985 F.3d 871 (D.C. Cir.
      2021), is typical. There, the undisputed jurisdictional facts in-

      cluded the agreement to arbitrate (in that case, an investment



      any objections with respect to the existence or validity of the arbi-
      tration clause or of separate arbitration agreement.” (ECF 19-1 at
      27). And adopting the UNCITRAL Rules “provides clear and un-
      mistakable evidence that the parties intended for the arbitrator to
      decide questions of arbitrability.” See Chevron, 795 F.3d at 207–
      08. Nigeria participated in the arbitration without ever challeng-
      ing the arbitrability of Mr. Chiejina’s claim or Mr. Chiejina’s sta-
      tus as a claimant. Although Nigeria’s Arbitration and Conciliation
      Act allows a Nigerian court to set aside an award on an application
      brought within three months of the award (A. 92-93), Nigeria
      never asked a Nigerian court to set aside the award.

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      treaty and notice to arbitrate rather than a contract), the award
      made under the treaty, and the New York Convention. Moldova ar-

      gued that the petitioner was not an investor entitled to demand ar-
      bitration under the treaty, just as Nigeria claims that Mr. Chiejina
      is not a party to the arbitration agreement entitled to demand ar-
      bitration under the contract. The court rejected Moldova’s argu-
      ment that it lacked jurisdiction. It held that Moldova might have a
      defense to conﬁrmation under the Convention, but that “the arbi-
      trability of a dispute is not a jurisdictional question under the
      FSIA.” Id. at 878.
           Chevron is similar. Chevron, like Stileks, was an investment

      treaty case. Ecuador argued, as Nigeria argues here (with respect
      to Mr. Chiejina) that it had not agreed to arbitrate. The Court re-
      jected the argument because it held that the district court was not

      required “to make a de novo determination of whether Ecuador’s
      oﬀer to arbitrate in the BIT encompassed Chevron’s breach of con-
      tract claims.” Chevron, 795 F.3d at 205. Ecuador’s argument
      failed because, like Nigeria’s argument, it “conﬂates the jurisdic-
      tional standard of the FSIA with the standard for review under the
      New York Convention.” Id.

           The second category comprises cases in which the foreign
      state has not agreed to arbitrate, and the question is whether it can



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      be bound by an agreement to arbitrate made by, say, an instrumen-
      tality of the foreign state. In First Investment Corp. v. Fujian

      Mawei Shipbuilding, Ltd., 703 F.3d 742 (5th Cir. 2012), for exam-
      ple, First Investment arbitrated a claim against two Chinese ship-
      building companies, one a state-owned company, under a contract
      containing an agreement to arbitrate. It asked the court to conﬁrm
      the award against the two parties and against the Chinese state on
      an alter ego theory, as China was the sole shareholder of the state-
      owned shipbuilder. The court held that it lacked jurisdiction be-
      cause China was not a party to the arbitration agreement. See id.
      at 756. Gater Assets Ltd. v. AO Moldovagaz, 2 F.4th 42 (2d Cir.

      2021), is similar: the court refused to renew an old default judg-
      ment that had conﬁrmed an award against Moldova on the grounds
      that the party to the agreement to arbitrate was an alleged instru-

      mentality of the Moldovan state, and the state itself was not a
      party to the agreement to arbitrate. See id. at 67.
           This case is like Stileks and Chevron and unlike First Invest-
      ment and Gater. Nigeria has certainly agreed to arbitrate claims,
      and the arbitrator has certainly issued an award pursuant to that
      agreement. Mr. Chiejina and PICCOL are not trying to hold Nige-

      ria to an agreement to arbitrate that Nigeria itself never made:
      there is no question that Nigeria itself is party to the contract un-
      der which the arbitrator made her award.

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           The distinction Nigeria seeks to draw between this case and
      Stileks and Chevron is unsound. Nigeria says (Br. at 15–17) that in

      Stileks and Chevron there was no question that an agreement to
      arbitrate existed. But here, too, there is no question that an agree-
      ment to arbitrate exists. The only question is whether Mr.
      Chiejina’s claim was within the scope of that agreement. This is
      the same question the Court faced in Stileks and Chevron, holding
      in each that where an arbitrator has issued an award under a treaty,
      questions about whether the foreign state had agreed to arbitrate
      the claim are merits questions, not jurisdictional questions.

                     b. The FSIA’s Plain Text Shows That an
                        Agreement with Any Private Party Is Suﬃcient
                        If the Award Is Made Under That Agreement.
           The FSIA requires “an agreement made by the foreign state
      with or for the beneﬁt of a private party.” 28 U.S.C. § 1605(a)(6).
      It does not require an agreement made by the foreign state with or
      for the beneﬁt of the claimant, or with or for the beneﬁt of the
      award creditor, or even with or for the beneﬁt of the private party.

      It requires an agreement made by the foreign state with a private
      party.
           The indeﬁnite article, “a” or “an,” is used when “referring

      to something not speciﬁcally identiﬁed … but [instead] treated as
      one of a class: one, some, any.” Citizens for Responsibility & Ethics


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      in Wash. v. FEC, 971 F.3d 340, 354 (D.C. Cir. 2020) (citation
      omitted). See also Black’s Law Dictionary 77 (5th ed. 1979) (the

      indeﬁnite article is “equivalent to ‘one’ or ‘any’”).
           So when the statute refers to an agreement “with … a private
      party,” it cannot be read to refer to the agreement with a particular
      private party, for example the private party petitioning for conﬁr-
      mation. See Balkan Energy Ltd. v. Republic of Ghana, 302 F. Supp.
      3d 144 (D.D.C. 2018) (holding that the court had jurisdiction over
      a petition brought by the assignee of an award rather than by the
      original award creditor). All the statute requires is that the award
      be made under an agreement with some private party. The deﬁnite

      article “the” appears earlier in the same sentence, strengthening
      the case. The agreement under which the award is made must be
      between the foreign state, that is, the foreign state against whom

      the petition is brought, and a private party.
           This construction accords with the cases discussed above. In
      particular, it accords with cases such as First Investment and
      Gater, since in those cases the problem was that an instrumental-
      ity of the foreign state had signed an agreement to arbitrate but the
      foreign state itself had not. The arbitration exception applies when

      the award was made under a written agreement between the for-
      eign state and a private party; questions about whether the dispute



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      was one the foreign state had agreed to arbitrate are merits ques-
      tions, not jurisdictional questions. Only if the petitioner cannot

      show that the award was made under a written agreement between
      the foreign state and some private party does the district court lack
      subject-matter jurisdiction.

                     c. Because There Was Only One Claim In The
                        Arbitration, the Court Should Not Dismiss Mr.
                        Chiejina.
           Nigeria concedes that the Court would have subject-matter

      jurisdiction if PICCOL were the only claimant. Its only jurisdic-
      tional argument turns on Mr. Chiejina’s presence in the case. Ni-
      geria’s position is that PICCOL’s claim should survive but that

      Mr. Chiejina’s claim should be dismissed. Its argument miscon-
      strues Simon v. Republic of Hungary, 812 F.3d 127 (D.C. Cir.
      2016).
           As Simon says, the courts “make FSIA immunity determina-
      tions on a claim-by-claim basis.” Simon, 812 F.3d at 141. In Si-
      mon, the plaintiﬀs were Hungarian Jews who survived the Holo-

      caust and who brought claims against Hungary and its state-
      owned railway for the wrongful taking of their property (under
      headings such as conversion and unjust enrichment), and for per-

      sonal injury (under headings such as false imprisonment, torture,
      and assault). Thus the claimants had separate claims for distinct


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      harms, which they asserted fell within the expropriation exception
      to FSIA immunity, 28 U.S.C. § 1605(a)(3). The point of Simon is

      that a court must decide which of the claims are within an excep-
      tion to FSIA immunity and which are not. Claims that are not
      within an exception—in Simon, the personal injury claims, see Si-
      mon, 812 F.3d at 141—must be dismissed.
           But here, the arbitrator awarded damages to PICCOL and Mr.
      Chiejina jointly, without specifying that part is for PICCOL and
      part for Mr. Chiejina. There are two claimants, but a single claim—
      a claim for breach of contract. The time to argue that Mr. Chiejina
      had no right to claim damages for the breach—assuming that that

      is so under Nigerian law, which Nigeria made no eﬀort to prove,
      either here or during the arbitration—was at the arbitration. The
      New York Convention does not permit a court to second-guess the

      merits of the arbitrator’s evident conclusion that Mr. Chiejina was
      entitled to the damages that resulted from Nigeria’s breach of the
      contract.

               2. The Waiver Exception Applies.
           Because the district court held that it had jurisdiction under
      the arbitration exception, it did not reach the waiver exception.




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      But the parties briefed the issue, and the Court can aﬃrm a deci-
      sion under a diﬀerent legal theory than the district court used. See

      Larson v. Northrop Corp., 21 F.3d 1164, 1169 (D.C. Cir. 1994).
           In Seetransport Wiking Trader Schiﬀarhtsgesellschaft mbH v.
      Navimplex Centrala Navala, 989 F.2d 572 (2d Cir. 1993), the Sec-
      ond Circuit held that any state that has signed the New York Con-
      vention has waived its foreign sovereign immunity in cases seek-
      ing to conﬁrm an award governed by the Convention, because the
      state “must have contemplated enforcement actions in other sig-
      natory States” when it signed the Convention. Id. at 578.
           Although this Court has “favorably cited Seetransport and its

      reasoning,” Process & Indus. Dev. Ltd. v. Federal Republic of Nige-
      ria, 27 F.4th 771, 774 (D.C. Cir. 2022) (citing Creighton Ltd. v.
      Gov’t of Qatar, 181 F.3d 118 (D.C. Cir. 1999) and Tatneft v. Ukr.,

      771 Fed. App’x 9 (D.C. Cir. 2019) (per curiam)), it has not “for-
      mally adopted it.” Id. at 774. And in light of “the ready applicabil-
      ity of the arbitration exception” and what it deemed “signiﬁcant
      policy concerns,”2 this Court has recently decided to avoid the
      question. See Process & Indus. Dev., 27 F.4th at 775 n.3.


      2
        The United States, as amicus curiae, has noted that adopting
      Seetransport may “have implications for the treatment of the
      United States in foreign courts and for our relations with foreign
      states.” Id. at 775 n.3. But the government did not argue that
      Seetransport was substantively wrong.

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           If the Court reaches the waiver issue in this case, it should
      take the opportunity to adopt the rule of Seetransport at last. The

      Second Circuit’s reasoning is compelling. The New York Conven-
      tion applies to the “recognition and enforcement of arbitral
      awards made in the territory of a State other than the State where
      the recognition and enforcement of such awards are sought.” New
      York Convention, art. I. Each contracting state is required to “rec-
      ognize arbitral awards as binding and enforce them in accordance
      with the rules of procedure of the territory where the award is re-
      lied upon.” Id. art. III. So when Nigeria agreed to the Convention,
      it must have understood that it could face award conﬁrmation ac-

      tions in the courts of other states that were party to the Conven-
      tion. Seetransport, 989 F.2d at 578.
           In the district court, Nigeria did not argue against the rule of

      Seetransport as a general matter. Instead, it claimed that the rule
      should not apply against a foreign state when the arbitration took
      place in that state’s territory. In other words, Nigeria conceded
      that the waiver exception would have applied if the arbitration
      with Mr. Chiejina and PICCOL had taken place in London, but that
      the waiver exception did not apply because the arbitration took

      place in Lagos.
           Nothing in the Convention supports that view. The Conven-
      tion applies to awards “made in the territory of a State other than

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      the State where the recognition and enforcement of such awards
      are sought.” New York Convention, art. I(1). A state signing the

      Convention thus could have no doubt that the Convention requires
      other countries to conﬁrm an award resulting from an arbitration
      that took place in its own territory. Nigeria might have had reason
      to think that the Convention did not require a Nigerian court to
      conﬁrm the award the petitioners obtained against it. But nothing
      in the Convention could have led Nigeria to think, when it signed
      the Convention, that parties who arbitrated claims against the Ni-
      gerian government in Nigeria would not be entitled to have the
      award conﬁrmed in the courts of other states if, as here, Nigeria

      failed to pay for years.
           The only case Nigeria cited below to support its argument
      was Diag Human, S.E. v. Czech Republic Ministry of Health, 64 F.

      Supp. 3d 22 (D.D.C. 2014), rev’d on other grounds, 824 F.3d 131
      (D.C. Cir. 2016). In Diag, the Czech Republic moved to dismiss
      “on numerous grounds, including failure to state a claim under the
      New York Convention, the SPEECH Act of 2010, and forum non
      conveniens,” but not for lack of subject-matter jurisdiction. Id. at
      25. The Court considered jurisdiction sua sponte and dismissed.

      Its main basis for dismissal was the ﬁnding that the relationship
      between the parties was not a commercial relationship and thus
      was not within the scope of the New York Convention. Thus the

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      arbitration exception to immunity did not apply. See id. at 32–33.
      The Court also held that the Czech Republic had not implicitly

      waived its immunity because the arbitration took place in the
      Czech Republic. See id. at 31. On this point, the district court cited
      Foremost-McKesson, Inc. v. Islamic Republic of Iran, 905 F.2d 438,
      444 (D.C. Cir. 1990), for the proposition that this Court had only
      found implied waivers of immunity in three circumstances: when
      “(1) a foreign state has agreed to arbitration in another country;
      (2) a foreign state has agreed that the law of a particular country
      governs a contract; or (3) a foreign state has ﬁled a responsive
      pleading in an action without raising the defense of sovereign im-

      munity.”
           On appeal, this Court reversed, holding that the parties had a
      commercial relationship suﬃcient to bring the case within the ar-

      bitration exception. See Diag Human, S.E. v. Czech Republic Min-
      istry of Health, 824 F.3d 131 (D.C. Cir. 2016). The opinion did not
      mention waiver. Diag did argue waiver on appeal, but its argument
      was that the Czech Republic had implicitly waived sovereign im-
      munity by bringing a motion to dismiss for failure to state a claim
      and for forum non conveniens without raising sovereign immun-

      ity. Diag did not argue that the Czech Republic had implicitly
      waived immunity by signing the New York Convention. See id. at
      140 (Sentelle, J., dissenting).

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           Thus in the case Nigeria relies on, the district court decided
      the implied waiver issue sua sponte without argument. The peti-

      tioner never even sought to argue that the Czech Republic had
      waived its immunity by joining the Convention. Diag does not pro-
      vide any support for its conclusion on implicit waiver view other
      than the citation to Foremost-McKesson. But Foremost-McKesson
      was not an arbitration case, and this Court’s statement of three
      grounds on which other courts had found an implied waiver was
      dicta. Especially considering Creighton and Tatneft, which treat a
      state’s agreement to the New York Convention as the key fact in
      deciding implied waiver, Diag carries no real weight.

           B. Service of Process Was Proper, Because the Notice
              Provision in The Contract Is Not a “Special Arrangement
              for Service” Within the Meaning of the FSIA.
           Nigeria argues that PICCOL and Mr. Chiejina should have
      served process using a “special arrangement for service between
      the plaintiﬀ and the foreign state,” 28 U.S.C. § 1608(a)(1), that it
      claims to ﬁnd in the parties’ contract. The question on appeal is

      whether the contract provision that Nigeria cites is such a “special
      arrangement for service.” It is not. Nigeria’s supposed preference
      to be served under the contract’s notice provision carries no

      weight. Its arguments fail to construe 28 U.S.C. § 1608(a)(1) nar-
      rowly. And the contract language covers only notices required or


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      authorized by the contract itself, not service of process in a post-
      award conﬁrmation case in another country.

               1. The FSIA’s Methods of Service Are Mandatory, and
                  the Foreign State’s Preferences Are Irrelevant.
           Nigeria asserts that when “a foreign state has speciﬁcally ar-
      ticulated a preferred method of service, that decision should be en-
      titled to signiﬁcant deference.” (Br. at 23). That is wrong, and the
      cases Nigeria cites say no such thing. See Transaero, Inc. v. La
      Fuerza Aerea Boliviana, 30 F.3d 148 (D.C. Cir. 1994); Republic of
      Sudan v. Harrison, 139 S. Ct. 1048 (2019).
           The FSIA disregards the parties’ preferences. The statute, 28
      U.S.C. § 1608(a), prescribes four methods of service, and the
      plaintiﬀ must try each available method of service in the order pre-
      scribed. See Barot v. Embassy of Zam., 785 F.3d 26, 27 (D.C. Cir.
      2015).3 Only when one available method of service fails may the
      plaintiﬀ move on to the next. If the parties agreed on a “special
      arrangement for service,” 28 U.S.C. § 1608(a)(1), then the plain-
      tiﬀ must use it whether he wants to or not, and whether or not the



      3
       The plaintiﬀ must try each available method of service. In many
      cases, no one contends that there is a special arrangement for ser-
      vice or an applicable international convention. In those cases the
      plaintiﬀ need not and cannot attempt service under 28 U.S.C.
      § 1608(a)(1) or (2).


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      foreign state prefers it.4 If there is no special arrangement for ser-
      vice but the foreign state is a party to an “applicable international

      convention on service of judicial documents,” 28 U.S.C.
      § 1608(a)(2), then the plaintiﬀ must attempt service under the
      convention even if he or the foreign state prefer another method.
      And if there is no special arrangement for service and no applicable
      convention, then the plaintiﬀ not only may, but must serve process
      by

           sending a copy of the summons and complaint and a notice
           of suit … by any form of mail requiring a signed receipt, to be
           addressed and dispatched by the clerk of the court to the head
           of the ministry of foreign aﬀairs of the foreign state con-
           cerned.

      28 U.S.C. § 1608(a)(3). That is so even if the foreign state would

      prefer to be served in another way. It would be highly surprising,
      however, if a foreign state really did prefer to be served in another
      way. The purpose of § 1608(a)(3), after all, is to get the documents

      to the department of the foreign government “most likely to un-
      derstand American procedure.” Transaero, 30 F.3d at 154. That is
      the Foreign Ministry or its equivalent. Id.




      4
       If there is a special arrangement for service, then of course it re-
      ﬂects the shared preference of the parties, at least at the time they
      agreed on the special arrangement.

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               Foreign states that do want to direct American summonses
      to oﬃcials other than the minister best positioned to know how to

      respond can do so explicitly. See, e.g., Lovati v. Bolivarian Republic
      of Venez., 2020 U.S. Dist. LEXIS 211458, at *6 (S.D.N.Y. Nov. 11,
      2020) (agreement for service of process on consular oﬃcials); Ar-

      chitectural Ingenieria Siglo XXI, LLC v. Dominican Republic, 2013
      U.S. Dist. LEXIS 199771, at *7–8 (S.D. Fla. Jun. 10, 2013) (agree-
      ment for service of process on diplomatic or consular oﬃcials). Or,

      as explained below,5 they can agree to an all-encompassing notice
      provision that does not limit its scope to notices under the con-
      tract.

               But as Nigeria’s own approach in another case shows, even
      when Nigeria enters into such an all-encompassing agreement, it
      does not really prefer to direct American summonses to an oﬃcial

      other than the Foreign Minister. In Process & Industrial Develop-
      ments, Ltd. v. Federal Republic of Nigeria, another award recogni-
      tion case that this Court has twice considered, the amount of the

      award was thousands of times the amount of the award here. See
      Process & Indus. Devs., 27 F.4th at 773 (award worth more than
      $10 billion with interest). Under the contract, “any notice which
      either Party may desire to give to the other Party” could be given



      5
          See section 3, infra.

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      to the Minister of Petroleum Resources by means including fax.
      (Document 1780490 in Case No. 18-7154, at p. 52). Yet when Ni-

      geria had the chance to challenge service process, it argued—suc-
      cessfully—that the award creditor should have had the documents
      mailed to the foreign minister rather than the foreign ministry. It
      did not argue that service on the foreign minister was improper be-
      cause the parties had a special agreement on service of process. 6

               2. Section 1608(a)(1) Must Be Construed Narrowly.
           The law demands strict compliance with the FSIA’s service
      requirements, for good reason:


      6
        The Court should take judicial notice of what the notice provi-
      sion in the contract says and what Nigeria said in its brief for the
      reasons stated in Mr. Chiejina and PICCOL’s unopposed motion
      for judicial notice, ﬁled on March 16, 2023. Brieﬂy, these are facts
      whose accuracy cannot reasonably be questioned, see Fed. R. Evid.
      201(b)(2), and the appellees are not asking the Court to take judi-
      cial notice of the truth of any assertions, but just the fact of the
      position Nigeria took. See Yi Tai Shao v. Roberts, 2019 U.S. App.
      LEXIS 33895, at *3–4 (D.C. Cir. Nov. 13, 2019); Crumpacker v.
      Ciraolo-Klepper, 715 Fed. App’x 18, 19 (D.C. Cir. 2018) (“The
      court takes judicial notice of the existence of these ﬁlings, not the
      accuracy of any legal or factual assertions made therein”). See also
      Partridge v. Presley, 189 F.2d 645, 647 (D.C. Cir. 1951) (court can
      take judicial notice of its own records). Mr. Chiejina and PICCOL
      had no reason to oﬀer these documents in the district court, be-
      cause Nigeria makes its argument about the deference owed to for-
      eign states’ preferred methods of service for the ﬁrst time on ap-
      peal.


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           [T]here are circumstances in which the rule of law demands
           adherence to strict requirements even when the equities of a
           particular case may seem to point in the opposite direction.
           The service rules set out in § 1608(a)(3), which apply to a
           category of cases with sensitive diplomatic implications,
           clearly fall into this category. Under those rules, all cases
           must be treated the same.

      Republic of Sudan v. Harrison, 139 S. Ct. at 1062.

           Except for this case and one other case,7 in every § 1608(a)(1)
      case in this circuit, the private plaintiﬀ, not the foreign state,
      claimed the contractual notice provision was a special arrange-
      ment for service. The foreign state, not the private plaintiﬀ, ar-
      gued that the provision does not reach service of process. Because
      foreign states almost always deny that contractual notice provi-

      sions are special arrangements for service, courts have read
      § 1608(a)(1) “narrowly.” See, e.g., Berkowitz v. Republic of Costa




      7
        The only example aside from this case known to the appellees in
      which a foreign state argued for a supposed special arrangement
      for service is Commissions Import Export S.A. v. Republic of the
      Congo, 2015 U.S. Dist. LEXIS 192785 (D.D.C. Jul. 6, 2015), in
      which the plaintiﬀ had made service under 28 U.S.C. § 1608(a)(3)
      and the foreign state, seeking to set aside a default judgment, ar-
      gued that the service was insuﬃcient because the parties had a
      special arrangement for service that the plaintiﬀ had failed to use.
      The argument was weak—the foreign state did not identify any
      language that could be a special arrangement for service—and the
      court easily rejected it. See id. at *4–5.

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      Rica, 288 F. Supp. 3d 166, 173 (D.D.C. 2018). A narrow construc-
      tion serves the interests of foreign states in shielding themselves

      “from trial and the attendant burdens of litigation,” Process & In-
      dus. Devs., Ltd. v. Federal Republic of Nigeria, 962 F.3d 576, 584
      (D.C. Cir. 2020), in almost every case. The narrow construction
      explains why, as Nigeria points out (Br. at 23), the foreign state
      prevailed on this issue in all the cases on which Mr. Chiejina and
      PICCOL rely: Mr. Chiejina and PICCOL are defending the position
      that foreign states usually take (and the position Nigeria preferred
      in the Process & Industrial Developments case). And Nigeria is de-
      fending the position that private plaintiﬀs who want to avoid the

      FSIA’s onerous requirements usually take.
           Nigeria has beneﬁtted in other cases from the narrow con-
      struction courts give to § 1608(a)(1). In Enron Nigeria Power

      Holding, Ltd. v. Federal Republic of Nigeria, 225 F. Supp. 3d 18
      (D.D.C. 2014), another award conﬁrmation case, Enron pointed to
      language in the contract governing the exchange of “[a]ll notices
      or other communications required or permitted to be given here-
      under.” The court rejected Enron’s argument that the contract had
      a special arrangement for service, holding that the contract provi-

      sion referred only to notices “required or permitted to be given
      hereunder,” that is, under the contract. See id. at 22–23.



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           This Court should not aim to protect the interests of a single
      foreign state that has made the unusual decision to demand ser-

      vice of process under a contractual notice provision rather than
      under the more formal methods set out in the FSIA. It should in-
      stead aim to protect the interests of foreign states generally—the
      interests Nigeria itself asserted in Enron. Foreign states almost al-
      ways oppose arguments like Nigeria’s argument here—attempts
      to shoehorn service of process into a contractual notice provision
      by giving the provision an excessively broad reading. The meaning
      of a contractual notice provision should not depend on which party
      is asserting that it constitutes a special arrangement for service

      and which party is denying it.

               3. Only All-Encompassing Notice Provisions Are Special
                  Arrangements for Service of Process, and the Notice
                  Provision in the Contract Was Not All-Encompassing.
           The cases are (nearly) unanimous in their agreement with the
      judge’s decision below. They distinguish between notice provi-
      sions that apply to all notices whatsoever that are to be given to

      the foreign state (for instance, “[a]ll notices, requests, demands,
      or other communications to or upon the respective parties hereto,”
      Marlowe v. Argentine Naval Comm’n, 604 F. Supp. 703, 704

      (D.D.C. 1985)), and notice provisions governing only notices un-




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      der the contract (for instance, “[a]ll notices … to be given, submit-
      ted, or made hereunder by any Party to another,” Hardy Expl. &

      Prod. (India) Inc. v. Gov’t of India, 219 F. Supp. 3d 50, 61 (D.D.C.
      2016)). Only an all-encompassing notice provision governs ser-
      vice of process in a post-arbitration conﬁrmation case. This dis-
      tinction runs through all the cases on which both parties rely.
           In all the cases in this circuit with notice language governing
      all notices between the parties to the contract, courts found spe-
      cial arrangements for service of process. See Marlowe, 604 F.
      Supp. at 704 (“All notices, requests, demands, or other communi-
      cations to or upon the respective parties hereto …”); Int’l Rd.

      Fed’n v. Embassy of Dem. Republic of the Congo, 131 F. Supp. 2d
      248, 251 (D.D.C. 2001) (“all notices, demands, or requests be-
      tween Sublessor and Sublessee”).8


      8
        The same is true in other circuits and state courts. See Space
      Sys./Loral, Inc. v. Yuzhnoye Design Oﬀ., 164 F. Supp. 2d 397, 402
      (S.D.N.Y. 2001) (“all notices and communications between the
      parties”); Saunders Real Est. Corp. v. Consulate Gen. of Greece,
      1995 U.S. Dist. LEXIS 14893, at *4–5 (D. Mass. Aug. 11, 1995)
      (“all notices”) (internal quotation marks omitted); Sky Petroleum,
      Inc. v. Ministry of Econ., Trade & Energy of Alb., 2012 U.S. Dist.
      LEXIS 193304, at *6 (W.D. Tex. Jan. 20, 2012) (“[A]ll matters
      and notices which are left in writing at the oﬃce of the Party con-
      cerned or which are received by such Party when delivered person-
      ally or sent by facsimile transmission at its main oﬃce in Albania
      shall be deemed to be validly served”); 101–115 W. 116th St. Corp.


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           But with one exception discussed below, in the cases with no-
      tice language that limits the scope of the notices governed by the

      notice clause, the courts in this circuit have rejected the argument
      that the language constituted a special arrangement for service.
      See Berkowitz, 288 F. Supp. 3d at 173 (“[n]otices and other docu-
      ments in disputes under [Chapter 10] Section B” of an investment
      treaty); Hardy, 219 F. Supp. 3d at 57–58 (“All notices, state-
      ments, and other communications to be given, submitted or made
      hereunder”) (emphasis supplied); Orange Middle East & Afr. v. Re-
      public of Equatorial Guinea, 2016 U.S. Dist. LEXIS 65147, at *8
      (D.D.C. May 18, 2016) (“notices, agreements, waiver declara-

      tions, and other communications made under this Agreement”)
      (emphasis in original); Enron, 225 F. Supp. 3d at 20 (“[a]ll notices
      or other communications required or permitted to be given hereun-

      der”) (emphasis supplied).9




      v. Consulate Gen. of the Republic of Sen., 2023 N.Y. Misc. LEXIS
      858, at *5–6 (N.Y. Sup. Ct. Feb. 27, 2023) (“a … notice or com-
      munication which owner may desire or be required to give to Ten-
      ant”).
      9
        Again, the same is true elsewhere. See Berdakin v. Consulado de
      La Republica de El Salvador, 912 F. Supp. 458, 466 (C.D. Cal.
      1995) (“Whenever under this Lease a provision is made for any
      demand, notice or declaration of any kind”).

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           G.E. Transport S.p.A. v. Republic of Albania, 693 F. Supp. 2d
      132 (D.D.C. 2010), is the only exception. Nigeria’s brief says noth-

      ing about the reasons that three judges, including the judge here,
      have rejected G.E. Transport as an obvious mistake.
           In G.E. Transport, the contract had a notice provision provid-
      ing that “[a]ny notice to be given to [Albania] under these Condi-
      tions shall be in writing.” See Orange, 2016 U.S. Dist. LEXIS
      65147, at *10. But G.E. Transport elides the words “under these
      conditions.” As quoted in the decision, the notice provision reads:
      “[a]ny notice to be given to [Albania] … shall be in writing.” G.E.
      Transport, 693 F. Supp. 2d at 136 (ellipsis in original). The court

      held that the contract created a special arrangement for service.
      Id. at 136–37. The decision would have been correct, if the con-
      tract had not included the words that the judge left out when he

      quoted it. But as Judge Collyer later observed:

           Since the Judge did not include the limiting words in his opin-
           ion, they were clearly not important to his analysis. To the
           extent that the Judge would have found a special arrange-
           ment even with the omitted words, this Judge disagrees.

      Orange, 2016 U.S. Dist. LEXIS 65147, at *11. Accord Hardy, 219
      F. Supp. 3d at 64 (Contreras, J.). Judge Leon, in the decision on

      appeal here, agreed. (A. 100). G.E. Transport is plainly wrong.




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           The language in the notice provision in this case is like the
      language in Berkowitz, Hardy, and Orange, and unlike the lan-

      guage of Marlowe and International Road Federation. It governs
      notices “required or authorised by this Agreement.” In other
      words, it is limited in its scope in just the way that the provisions
      in Berkowitz, Hardy, and Orange were limited in their scope.
           Nigeria claims the word “authorised” is “broad,” and that its
      plain meaning “encompasses notices far beyond those speciﬁcally
      enumerated in the Agreement.” (Br. at 21). But Nigeria identiﬁes
      nothing in the contract that authorizes a party to petition to con-
      ﬁrm an arbitral award. Nor does Nigeria support its appeal to plain

      meaning with any evidence, not even a dictionary deﬁnition of the
      word. In fact, the relevant meaning of “authorised”10 is “duly
      sanctioned,” 1 Oxford English Dictionary 572 (1971), or “em-

      power[ed] <authorized to act for her husband>,” Merriam-Web-
      ster’s Collegiate Dictionary 77 (10th ed. 2001). Nothing in the con-
      tract sanctions or empowers either party to send process to the

      other in a post-award proceeding. In fact, the contractual limita-
      tion to notices “required or authorised” by the contract makes this
      clause signiﬁcantly narrower than the clauses in Berkowitz,
      Hardy, and Orange, each of which refers to notices made under the

      10
        Or “authorized.” Nigeria uses British rather than American
      spellings.

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      contract or treaty without specifying whether the notices are au-
      thorized, required, or merely permitted. Cf. Water Splash, Inc. v.

      Menon, 581 U.S. 271, 284 (2017) (distinguishing treaty provi-
      sions authorizing a method of service of process from provisions
      merely permitting a method of service).
           Nigeria also argues that the agreement “plainly contemplates
      service of a petition to conﬁrm an arbitration award” because it
      contains an agreement to arbitrate. (Br. at 21). This argument im-
      plies that a standard notice provision in any contract that contains
      an agreement to arbitrate is necessarily a special arrangement for
      service. Nigeria’s suggestion is radical, unmoored from the cases,

      and at odds with the narrow construction the courts give to
      § 1608(a)(1).
           Finally, Nigeria points to Article 2(1) of the arbitral rules that

      governed the arbitration:

           For the purpose of these Rules, any notice, including a notiﬁ-
           cation, communication or proposal, is deemed to have been
           received if it is physically delivered to the addressee or if it is
           delivered at his habitual residence, place of business or mail-
           ing address, or, if none of these can be found after making
           reasonable inquiry, then at the addressee’s last known resi-
           dence or place of business. Notice shall be deemed to have
           been received on the day it is so delivered.

      (A. 94). It claims (Br. at 20) that “read in unison” with the con-
      tractual notice provision, the rule on notice supports the view that

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      service of process should have been made on the Minister for In-
      tergovernmental Aﬀairs, Special Duties & Youth Development,

      who was to receive notices under the contract. But Rule 2(1) says
      nothing about service of process in post-award proceedings. It ap-
      plies only “for the purpose of these Rules,” and nothing in the

      Rules refers to conﬁrming awards.

               4. If Service Was Improper, the Court Should Not
                  Dismiss the Case.
           Because only one method of service at a time is ever proper
      under the FSIA, a plaintiﬀ in an FSIA case always runs the risk
      that he has chosen the wrong method. Mr. Chiejina and PICCOL
      had excellent reason to believe that there was no special arrange-
      ment for service, considering the overwhelming weight of the
      cases discussed above. The judge below thought Nigeria’s argu-
      ment on service was so weak that he summed up his view of Nige-
      ria’s argument with a single word: “Please!” (A. 99). Mr. Chiejina

      and PICCOL arranged for service promptly after petitioning in Au-
      gust 2021. They have been diligent.
           In Barot, 785 F.3d at 29, the Court held it was error to dis-

      miss rather than to quash service “when there exists a reasonable
      prospect that service can be obtained.” If Nigeria is right and Mr.
      Chiejina and PICCOL should have served process under the con-

      tract’s notice clause, they could eﬀect service promptly. The Court


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      should aﬀord them that opportunity by quashing the service rather
      than dismissing the petition.

                                CONCLUSION

              The Court should aﬃrm the district court’s order and remand
      the case for further proceedings. If the Court holds that service of

      process was improper, it should remand the case with instructions
      to quash the service with leave to re-serve the summons and peti-
      tion.

                                            Respectfully submitted,

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                                       ADDENDUM

      9 U.S.C. § 207 ..................................................2a
      New York Convention arts. I(1), III, and V ........3a




                                               A1
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                                9 U.S.C. § 207
           Within three years after an arbitral award falling under the

      Convention is made, any party to the arbitration may apply to any
      court having jurisdiction under this chapter for an order conﬁrm-
      ing the award as against any other party to the arbitration. The

      court shall conﬁrm the award unless it ﬁnds one of the grounds for
      refusal or deferral of recognition or enforcement of the award spec-
      iﬁed in the said Convention.




                                      A2
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      United Nations Convention on the Recognition and Enforcement
      of Foreign Arbitral Awards, Jun. 10, 1958, 21 U.S.T. 2517, 330
                  U.N.T.S. 38 (the New York Convention)
                                    Article I

           1. This Convention shall apply to the recognition and enforce-
      ment of arbitral awards made in the territory of a State other than
      the State where the recognition and enforcement of such awards
      are sought, and arising out of diﬀerences between persons,
      whether physical or legal. It shall also apply to arbitral awards not
      considered as domestic awards in the State where their recogni-
      tion and enforcement are sought.
                                      ***
                                   Article III

           Each Contracting State shall recognize arbitral awards as
      binding and enforce them in accordance with the rules of proce-
      dure of the territory where the award is relied upon, under the con-

      ditions laid down in the following articles. There shall not be im-
      posed substantially more onerous conditions or higher fees or
      charges on the recognition or enforcement of arbitral awards to

      which this Convention applies than are imposed on the recognition
      or enforcement of domestic arbitral awards.
                                      ***




                                      A3
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                                   Article V
           1. Recognition and enforcement of the award may be refused,

      at the request of the party against whom it is invoked, only if that
      party furnishes to the competent authority where the recognition
      and enforcement is sought, proof that:
           (a) The parties to the agreement referred to in article II were,
      under the law applicable to them, under some incapacity, or the
      said agreement is not valid under the law to which the parties have
      subjected it or, failing any indication thereon, under the law of the
      country where the award was made; or
           (b) The party against whom the award is invoked was not

      given proper notice of the appointment of the arbitrator or of the
      arbitration proceedings or was otherwise unable to present his
      case; or

           (c) The award deals with a diﬀerence not contemplated by or
      not falling within the terms of the submission to arbitration, or it
      contains decisions on matters beyond the scope of the submission
      to arbitration, provided that, if the decisions on matters submitted
      to arbitration can be separated from those not so submitted, that
      part of the award which contains decisions on matters submitted

      to arbitration may be recognized and enforced; or




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           (d) The composition of the arbitral authority or the arbitral
      procedure was not in accordance with the agreement of the par-

      ties, or, failing such agreement, was not in accordance with the
      law of the country where the arbitration took place; or
           (e) The award has not yet become binding on the parties, or
      has been set aside or suspended by a competent authority of the
      country in which, or under the law of which, that award was made.
           2. Recognition and enforcement of an arbitral award may also
      be refused if the competent authority in the country where recog-
      nition and enforcement is sought ﬁnds that:
           (a) The subject matter of the diﬀerence is not capable of set-

      tlement by arbitration under the law of that country; or
           (b) The recognition or enforcement of the award would be
      contrary to the public policy of that country.

                                     ***




                                      A5
